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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

RAMONA THURMAN BIVINS,                    )
                                          )
      Plaintiff,                          )
                                          )
v.                                        )         Civil Action Number:
                                          )         1:22-CV-04149-WMR
FELICIA FRANKLIN, in her                  )
individual and official capacities;       )
et.al,                                    )
                                          )
      Defendants.                         )

 DEFENDANT FELICIA FRANKLIN’S REPLY BRIEF IN SUPPORT OF
      HER MOTION FOR JUDGMENT ON THE PLEADINGS
      COMES NOW Defendant FELICIA FRANKLIN (hereinafter “Franklin”), in

both her individual and official capacities, by and through her undersigned counsel,

and hereby files this Reply Brief in Support of her Motion for Judgment on the

Pleadings [Doc. 44] showing the Court as follows:

                             I.       INTRODUCTION

      Defendant Franklin moved for a judgment on the pleadings on the following

grounds: (1) that Plaintiff cannot establish a prima facie case of First Amendment

Retaliation because Plaintiff’s position of CFO was not properly created by the

Clayton County Board of Commissioners (the “Board”); (2) Plaintiff’s Complaint

does not contain sufficient factual allegation to support a claim for relief; and (3)
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even if the Complaint’s allegations adequately state a claim for relief, Defendant

Franklin, in her individual capacity is entitled to qualified immunity.1 In response to

Defendant Franklin’s motion, Plaintiff argues that the Complaint’s allegations are

adequate to demonstrate that Defendant Franklin personally participated in the

commission of a constitutional tort, even though the allegations relied upon by

Plaintiff show no such thing. Next, Plaintiff argues that Defendant Franklin is not

entitled to qualified immunity, while failing to make the required showing that

Franklin was “placed on notice” that her vote to declare Plaintiff’s contract ultra

vires (which is undoubtedly true) was a constitutional violation. Finally, Plaintiff

downplays Clayton County’s failure to properly create the CFO position or,

alternatively, asserts that Defendant Franklin is prevented from asserting such a

position based on equitable estoppel. On these final points, Plaintiff has flatly

miscomprehended Georgia law regarding the consequences of a local government

taking action bereft of lawful authority.2


1
 Defendant Franklin also argued that judgment on the pleadings as to the official
capacity claim against her was appropriate because it was duplicative of the claim
brought against Clayton County. Plaintiff has consented to removal of the official
capacity claim against Defendant Franklin on that basis. See Doc. 49, fn. 2.
2
  Plaintiff, in her response, also makes the spurious allegation that the defendants
“inexplicably staggered their dispositive motions such that they have perpetually
delayed this case for five months.” (Doc. 49, p. 1). Defendant Franklin takes
umbrage at this remark. Defendants Clayton County and Gail Hambrick filed a pre-
answer motion to dismiss and, upon consent of the parties, an order was also entered
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     II.    REPLY ARGUMENTS AND CITATION OF AUTHORITIES

   A.      The Complaint does not allege facts establishing that Defendant
           Franklin acted with retaliatory animus such as would support a First
           Amendment Retaliation claim.

        Plaintiff asserts that her Complaint contains facts demonstrating that her

protected First Amendment activity – her intimate association with her husband –

was the motivation for Defendant Franklin (1) voting to terminate Plaintiff’s

employment as Clayton County CFO and (2) declaring Plaintiff’s employment

contract ultra vires. It is true, as cited by Plaintiff, that to survive a motion to dismiss

for failure to state a claim, the complaint must contain sufficient factual matter to

state a claim to relief that is “plausible on its face.” Bell Atl. Corp. v. Twombly, 550

U.S. 544, 570 (2007). However, none of the factual allegations relied upon by

Plaintiff in her response to Defendant Franklin’s motion are sufficient to plausibly

establish that Franklin acted with retaliatory animus. The factual allegations cited by

Plaintiff do nothing more than rely on suspicion and unwarranted inference.

Plaintiff’s cobbled together house of cards plays to our most base instincts – by

asking the Court to take it as a matter of orthodoxy that individuals with differing




staying discovery until resolution of that motion. A motions hearing was originally
scheduled for March 17, 2022, but Plaintiff consented to continuing that hearing so
that all motions, including Defendant Franklin’s, could be heard together. As is
emblematic of Plaintiff’s lawsuit, Plaintiff attributes perniciousness to the benign.

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political views must despise one another. Stated plainly, Plaintiff asks this Court to

find a plausible claim of retaliation against Franklin by assigning perniciousness to

the mundane, with Plaintiff taking it on faith that the Court will suffuse facially

inoffensive statements with the scienter of malevolence. While Plaintiff might

entreat “isn’t it possible that Franklin’s comments were evidence of animus[?],”

possibility is not the standard! As stated by the Supreme Court, plausibility and

possibility are not equivalent:

      A claim has facial plausibility when the plaintiff pleads factual content
      that allows the court to draw the reasonable inference that the
      defendant is liable for the misconduct alleged. The plausibility standard
      is not akin to a “probability requirement,” but it asks for more than a
      sheer possibility that a defendant has acted unlawfully. Where a
      complaint pleads facts that are “merely consistent with” a defendant's
      liability, it “stops short of the line between possibility and plausibility
      of ‘entitlement to relief.’

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (emphasis added) (citation omitted).

Facts that create merely a “suspicion [of] a legally cognizable right of action” are

not sufficient to survive a motion to dismiss for failure to state a claim. Twombly,

550 U.S. at 555. In this case, Plaintiff asks for relief on the theory that Franklin acted

to terminate Plaintiff’s employment and declare Plaintiff’s employment contract

ultra vires based on Plaintiff’s exercise of her First Amendment right to intimate

association. Each of the factual allegations cited to and relied on by Plaintiff do

nothing to push the needle from possibility to plausibility.

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       The allegations relied on by Plaintiff, and their ‘suggested’ implication, are as

follows:

     Defendant Franklin was aware that Plaintiff was married to Charlton Bivins.

(Doc. 1 at ¶¶ 21–22). Charlton Bivins supported incumbent candidate DeMont Davis

for a seat on the County Commission, while Defendant Franklin supported a

different candidate, Janice Scott. Id. at ¶¶ 23, 25.3 Support for differing political

candidates, alone, is not enough to establish that retaliatory animus is more than a

mere possibility. This allegation, and the inferences associated with it, should be

rejected by the Court. They are little more than a manifestation of our broken

political culture where some advance the tragic proposition that political differences

are synonymous with enmity.

     An incident occurred in May 2022 that involved an alleged theft of Davis

campaign signs by Scott campaign workers. Id. at ¶ 26. There is no allegation that

Defendant Franklin was involved in the alleged theft. Defendant Franklin’s only

connection to the sign incident was in apparently obtaining an audio recording of

Commissioner Davis’s phone call to the Clayton County Police Department

regarding the alleged sign theft and providing that recording to a local newspaper.



3
 Allegations relating to former Clayton County Sheriff Victor Hill’s support of
Davis’s opponent are wholly irrelevant to Defendant Franklin’s involvement in this
matter.
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Id. at ¶¶ 28, 29. There is no allegation that Defendant Franklin’s actions in obtaining

publicly available information were illegal or improper.

    Two weeks after the campaign sign incident, on June 7, 2022, the Board voted

3-2 to terminate Plaintiff’s contract with Clayton County, terminate Plaintiff’s

employment as CFO, and declare Plaintiff’s contract with the County ultra vires. Id.

at ¶¶ 40–41. Defendant Franklin was one of the three “yes” votes. There is no

allegation that Defendant Franklin and the other two Commissioners voting to

terminate shared a wrongful retaliatory motive in making their votes, and there are

no allegations – rising to the level of more than a mere possibility or suspicion – as

to Defendant Franklin possessing a wrongful motive to terminate Plaintiff’s

employment and declare the contract ultra vires.

    Defendant Franklin is alleged to have stated “It’s going to be a good night

tonight” prior to the June 7th meeting and “I can sleep good tonight” after the

meeting. Id. at ¶¶ 38, 48. For Plaintiff to take such flatly banal statements and

endeavor to use them in this case is folly. Even assuming Franklin said those precise

words, there is nothing other than sheer speculation to suggest their connection to

Plaintiff’s termination. Stating that one hopes to “sleep well tonight” is uttered by

millions following an honest day’s work. Plaintiff’s effort to leverage such an

innocent phrase into legal significance simply misses the mark.


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     The Complaint alleges that Defendant Franklin’s vote to declare Plaintiff’s

contract ultra vires was without legal justification and merely an attempt to create a

legal basis for the County to refuse to pay Ms. Bivins’ severance under the contract.

Id. at ¶¶ 42–43. Even if true, such an allegation does not establish that Defendant

Franklin acted with a retaliatory motive based on Plaintiff’s protected intimate

association with her husband. At most, it could plausibly suggest that Defendant

Franklin cast her vote (whether imprudently or not) in an attempt to protect the

County’s financial coffers from an unwarranted severance payout. Moreover, since

the contract was/is ultra vires, Franklin’s good stewardship should be applauded.4

     Defendant Franklin did not provide responses to Commissioner Davis or

Chairman Turner regarding the reason she voted in favor of the termination, and

Franklin has not stated publicly her reasons for her vote. Id. at ¶¶ 46, 48–49.

Defendant Franklin was under no obligation to explain her vote and any perceived

failure to do so does not support a plausible conclusion that her actions were

motivated out of retaliation for Plaintiff’s protected expression.

     The Complaint alleges that, following the campaign sign incident, Defendant

Franklin, together with Co-Defendants Anderson and Hambrick “demonstrated a


4
 Even assuming the contract was legal, the only potential ramification of not paying
Plaintiff severance due under the contract would be an action for breach of contract
solely against the County under state law. Recognizing this, Plaintiff did incorporate
a claim for breach against the County in her Complaint. See Doc. 1, pp. 24–25.
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singular focus to use their power of elective office under color of state law to

diminish the lives of Mr. and Mrs. Bivins.” Id. at ¶ 51. Further, it is alleged that

Defendant Franklin “was motivated to terminate Ms. Bivins because she was

married to Mr. Bivins and because Mr. Bivins and Ms. Bivins supported

Commissioner Davis’s election campaign.” Id. at 52. These “facts” are “mere

conclusions” which “are not entitled to the assumption of truth.” Ashcroft, 556 U.S.

at 664. 5

       The remaining allegations of the Complaint relied upon by Plaintiff are either

irrelevant to the elements of Plaintiff’s cause of action or do not implicate Defendant

Franklin’s conduct or actions. For example, Defendant Franklin’s legislative actions

as relevant to Chairman Turner’s responsibilities are wholly irrelevant to whether

Plaintiff can state a claim for violation of her First Amendment protections. (Doc. 1

at ¶ 59). And, allegations related to the conduct of others cannot implicate an

improper motive on the part of Defendant Franklin. See Id. at ¶¶ 74, 76. In short,

while Plaintiff attempts to assign much melodrama to the events detailed in the


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  Plaintiff responds to the argument that the Complaint does not adequately establish
that all three Commissioners voting in favor of Plaintiff’s termination shared a
retaliatory motive by incorporating her response arguments already in the record.
(Docs. 33, 34). Thus, Plaintiff appears to admit that if the Complaint does not state
a claim against any one of the three individual defendants, dismissal should be
required. See Rolle v. Worth County School District, 128 Fed. Appx. 731, 733 (11th
Cir. 2005); see also Mason v. Village of El Portal, 240 F.3d 1337, 1340 (11th Cir
2001). Plaintiff cites to Mason in her response.
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Complaint, the actual factual allegations in the Complaint fail to establish a plausible

claim for relief against Defendant Franklin. As such, Plaintiff’s claims against

Defendant Franklin should be dismissed.

   B.      Defendant Franklin is entitled to qualified immunity.

        As stated in Defendant’s prior brief, when a defendant asserts qualified

immunity for actions undertaken in the scope of her discretionary authority, it is

Plaintiff’s burden to “establish that (1) [her] complaint pleads a plausible claim that

the defendant violated [her] federal rights (the “merits” prong), and that (2)

precedent in this Circuit at the time of the alleged violation “clearly established”

those rights (the “immunity” prong).” Carollo v. Boria, 833 F.3d 1322, 1328 (11th

Cir. 2018). Plaintiff concedes that the analysis on the “merits” prong is merged with

the analysis of a Rule 12(b)(6) motion for failure to state a claim. (Doc. 49 at p. 12

(citing GJR Investments, Inc. v. County Escambia, Florida, 132 F.3d 1359, 1366

(11th Cir. 1998)). Thus, for all the reasons stated in Section A, supra, Plaintiff cannot

succeed on the merits prong as she fails to demonstrate a plausible claim that

Defendant violated her First Amendment rights to intimate expression.

        As to the immunity prong, Plaintiff stresses that the U.S. Supreme Court and

the 11th Circuit have repeatedly held that “engaging in adverse employment action

against an employee because of her intimate relationship, such as marriage, violates

the employee’s right to intimate association.” (Doc. 49, p. 13). Defendant Franklin
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does not dispute that this is a correct, generalized statement of the law. However,

Plaintiff cannot rely on such generalized statements. Rather, the Court must

determine whether, at the time of the alleged violation, that the right in question was

clearly established “in light of the specific context of the case, not as a broad general

proposition.” Watkins v. Cent. Broward Reg’l Park, 799 F. App’x 659, 666 (11th Cir.

2020) (quotation omitted). Here, Plaintiff fails to explain how she can meet the

“clearly established” prong of the test when considered through the lens of the

specific context of this case. Namely, the Complaint alleges, and the Defendants

admit, that Plaintiff’s contract was declared ultra vires. This provides an alternative,

lawful basis for Defendant Franklin’s vote in favor of non-renewal of Plaintiff’s

employment contract and Plaintiff’s immediate termination. “[T]he dispositive

question is whether the law at the time of the challenged conduct gave the

government official fair warning that his conduct was unconstitutional.” Baxter v.

Roberts, 54 F.4th 1241, 1263 (11th Cir. 2022) (quotation omitted.). Plaintiff points

to no law which would offer Defendant Franklin fair warning that her conduct would

be considered unlawful when confronted with the need to vote on the issue of an

ultra vires contract and the County’s lawful authority to continue to employ Plaintiff

as the County CFO. Plaintiff cannot carry her burden to overcome Defendant

Franklin’s entitlement to qualified immunity and Defendant is entitled to dismissal

on the claims against her on that basis.
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   C.      Plaintiff’s argument that the County’s failure to properly create the
           position of CFO does not affect the validity of her claim must fail.

        In support of her Motion for Judgment on the Pleadings, Defendant Franklin

demonstrated, via the certified minutes of the Board, that the Board did not follow

the mandates of the Georgia Constitution when, in 2013, it attempted to create the

position of CFO by amending its local acts by ordinance. See GA. CONST. Art. 9,

§ 2, ¶ I. This failure to properly create the position of CFO yields the conclusions

that (1) Plaintiff was not entitled to hold the position of CFO, and (2) the Board was

not authorized to enter into a contract (with any individual) to fulfill that role.

Without a valid entitlement to hold the position of CFO, Plaintiff cannot prevail on

a claim that she experienced adverse employment action in the context of her First

Amendment retaliation case, and dismissal should be required.

        Plaintiff argues that the legal invalidity of the CFO Position is irrelevant to

the analysis of whether Plaintiff can demonstrate an adverse employment action.

Plaintiff first asserts that Defendant Franklin and Clayton County should be estopped

from arguing that Plaintiff’s employment was ultra vires because the County

enjoyed the benefit of Plaintiff’s employment for nearly nine years. As a second

point, Plaintiff argues that, even if Plaintiff’s employment agreement was invalid,

Plaintiff’s employment was not reliant on the existence of the contract, such that she

can still pursue recovery for her First Amendment retaliation claim.

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          1. The theory of equitable estoppel does not operate to bar Defendant
             Franklin from arguing that Plaintiff was not lawfully employed by the
             County.

      Plaintiff’s characterization of Defendant Franklin’s argument as taking an

“exacto knife” to the Board’s efforts to create the CFO position in 2013 in

unavailing. There is nothing hyper-technical or selective in demanding that a

county’s local governing authority comply with the mandates of the Georgia

Constitution and the limits of the governing authority’s power under the law.

“Neither the counties of this state nor their officers can do any act, make any

contract, nor incur any liability not authorized by some legislative act applicable

thereto.” Mobley v. Polk Cnty., 242 Ga. 798, 801, 251 S.E.2d 538, 541 (1979).

Furthermore, “[i]f there is reasonable doubt of the existence of a particular power,

the doubt is to be resolved in the negative.” Id. Thus, in order for the Board to employ

Plaintiff as its CFO, the Board must have been empowered to do so by a specific

legislative act. Adoption of a “specific legislative act” is exactly what the Board tried

to accomplish in attempting to exercise its Home Rule Powers in 2013, as authorized

by the Georgia Constitution. See GA. CONST. Art. 9, § 2, ¶ I. As supported by the

certified minutes attached to Defendant Franklin’s First Amended Answer [Doc. 30],

the Board failed to comply with the plain language of the Georgia Constitution, with

the result that the Board never had the authority to employ a CFO, whether that be

Plaintiff or any other individual. Contrary to Plaintiff’s assertions, there is nothing
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illogical or ludicrous in focusing on the effect of the Board’s legislative errors when

it attempted to create the CFO position.

      However, Plaintiff urges that Defendant Franklin and the County should be

estopped from relying on the Board’s failings based on the doctrine of equitable

estoppel. Plaintiff relies on the Georgia Supreme Court’s opinion in Summerville v.

Georgia Power Co., 205 Ga. 843, 55 S.E.2d 540 (1949) for the proposition that the

County may be estopped “as right and justice may require, where the act or contract

relied on to create the estoppel was within its cooperate powers, although the method

of exercising the power was irregular or unauthorized.” Id. at 846. However, the

present case is easily distinguishable from the facts of Georgia Power because, in

that case, the City of Summerville acted pursuant to the authority of a specific

legislative act. In that case, the question concerned whether a franchise agreement

between the City of Summerville and Georgia Power was valid even though the City

had failed to properly publish the franchise application as required by the City

Charter. Id. It was undisputed that the City Charter – as set out by a legislative act

of the General Assembly (Ga. L. 1909, p. 1376) – enumerated the power to grant

franchises to the City. Id. at 845. In the present case, there is no such enumerated

power which would allow the Board to create the position of CFO, which is the

reason that the County needed to use its Home Rule Power under the Georgia

Constitution. Plaintiff’s argument that equitable estoppel should apply cannot
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overcome the general principle that a local government “cannot be estopped by its

ultra vires acts.” Id. at 846.6

       Plaintiff also argues that a determination on whether Plaintiff’s employment

was ultra vires (on the basis of the Board’s failure to comply with the Georgia

Constitution’s Home Rule Provisions) is premature and would require discovery. It

is hard to understand how Plaintiff can characterize the certified minutes of the

Board as requiring “the rigorous scrutiny of discovery.” The certified minutes of the

Board are self-authenticating public records, and their contents speak for themselves.

There is no reason that the Court cannot rule on this issue as a preliminary matter.

          2. Plaintiff did not suffer an adverse employment action.

       Plaintiff’s final argument is that, even if Plaintiff’s contract was ultra vires

she should still be entitled to claim that she experienced an adverse employment

action. However, it is incongruous to believe that Plaintiff would be entitled to

pursue a claim related to the loss of employment when that employment did not

lawfully exist. Put another way, how can there be an adverse employment action

when there is no legal basis for employment as a matter of law?


6
 See also Corey Outdoor Advertising, Inc. v. Board of Zoning Adjustments of City
of Atlanta, 254 Ga. 221 (Ga. 1985) (“There is no such doctrine known to the law as
a set-off of wrongs. Not even estoppel can legalize or vitalize that which the law
declares unlawful and void. If so, the conduct of individuals, whether independently
or collusively, could render any and all laws invalid and impotent.”)

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      While it is true that Defendant Franklin voted in favor of a motion to terminate

Plaintiff’s employment with the County, that vote must also be viewed in concert

with the vote to declare Plaintiff’s employment contract ultra vires and the

authorities already presented which establish that no one was entitled to hold the

position of CFO. Plaintiff urges the Court to disregard these facts and find that

Plaintiff should be entitled to pursue her claim on the basis that she suffered an

adverse employment action. However, Plaintiff fails to explain how this situation

can be construed as an adverse employment action where Plaintiff had no legal right

to continue her employment as CFO. It is well settled that adverse employment

actions include those actions “that affect continued employment or pay,” Davis v.

Legal Servs. Alabama, Inc., 19 F.4th 1261, 1266 (11th Cir. 2021) (quotation

omitted). But, in this case, Defendant Franklin’s actions in participating in the vote

to deny renewal of Plaintiff’s contract and declare the contract ultra vires, are,

ultimately, not the reason that Plaintiff is prohibited from continuing employment as

CFO; rather, the reason Plaintiff cannot continue employment is because the Board

never had the authority to employe her in that role in the first place.

                               III.   CONCLUSION

      Based on the foregoing, together will all other pleadings of record, Defendant

Franklin respectfully requests that her Motion for Judgment on the Pleadings be

granted.
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      Submitted this 28th day of April, 2023.
                                             /s/   Melissa A. Tracy
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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the within and foregoing has been prepared in compliance

with Local Rule 5.1(B) in 14-point Times New Roman type face.


                                             /s/   Melissa A. Tracy
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                          CERTIFICATE OF SERVICE

             I hereby certify that I have this date electronically filed the foregoing

DEFENDANT FELICIA FRANKLIN’S REPLY BRIEF IN SUPPORT OF

HER MOTION FOR JUDGMENT ON THE PLEADINGS in the above-styled

civil action with the Clerk of Court by using the Court’s CM/ECF system, which

will automatically send notice of same to the attorneys of record. Additionally, a true

and correct copy of same has been delivered to the following counsel of record:

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      This 28th day of April, 2023.



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